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UNITED STATES DISTRICT COURT~. BY
CENTRAL DISTRICT OF CALIFORNIA
AARON L. MlNTZ, an individual, ) CASE NO. 2:12-cv-02554-SVW-SS
_ ) _
_ _ )
' Plamtlff, )
)
-vs. )
_ . ) JURY VERDICT FORM
MARK B_ARTELSTEIN & x ) ;
ASSOCIATES, INC., d/b/a/ Priority )
Sports_ & Entertainment; and MARK )
BARTELSTEIN, an indivi_dual, ` )
_ § REDACTED
Defendants. ) l
)
1. Has Mr. Mintz proven by a preponderance of the evidence that Mr. Bartelstein directed

or approved the decision of Brad Ames and/or Richard Srnith to access Mr. Mintz’s

Gmail account, prior to the Gmail account being accessed?

Yes L/ No

 

 

 

If your answer to question 1 is no, then stop here, do not answer question 2, and proceed to question 3.
2. Is Mr. Mintz entitled to damages for the invasion of bis right to privacy by Mr.
Bartelstein? b
Yes No
3. Is Mr. Mintz_ entitled to damages for the invasion of his right to privacy by Priority'
Sports? v
_ Yes _ No

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If you answered yes to either question 2 or 3, then answer question 4.

-4. What are Mr. Mintz’s damages?

a. Past noneconomic loss, including emotional
, pain/mental suffering: $ @ Cj~@
b. Future noneconomic loss, including emotional v _
pain/mental suffering: $ S: OZS©
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DATE: // [/LL [£<1”/ ;7-\ sIGNED:\, 4

3 REDACTEI) As To
/l FoREPERsoN’s NAME

Print Name1

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JURY FOREPERSON {

After the verdict form is si gned, notify the court attendant that you are ready to present your verdict in

the courtroom.

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